     Case 21-13085-ABA                Doc 73-7 Filed 09/29/21 Entered 09/29/21 10:15:20                  Desc
                                       Certificate of Service Page 1 of 3



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)
     Jessica Berry, Esq. (Bar No. 029912007)
     Greenspoon Marder LLP
     Trade Centre South, Suite 700
     100 W. Cypress Creek Road
     Fort Lauderdale, FL 33309
     Jessica.berry@gmlaw.com
     Attorney for BSI Financial Services as servicer for IRP Fund II   Case No.:           21-13085-ABA
                                                                                        ____________________
     Trust 2A
                                                                       Chapter:                  11
                                                                                        ____________________


     In Re:                                                            Adv. No.:        ____________________

       Choates G. Contracting, LLC                                     Hearing Date:      October 26, 2021
                                                                                        ____________________

                                                                       Judge:            Andrew B. Altenburg Jr.
                                                                                        ____________________




                                          CERTIFICATION OF SERVICE

             Michelle Torres
1. I, ____________________________ :

            ☐ represent ______________________________ in this matter.

            ☐ am the secretary/paralegal for ___________________________,
                                                Greenspoon Marder LLP     who represents
                  BSI Financial Services
            ______________________________ in this matter.

            ☐ am the ______________________ in this case and am representing myself.



2.                   September 29, 2021
            On _____________________________, I sent a copy of the following pleadings and/or documents
            to the parties listed in the chart below.
             Motion for Relief from Automatic Stay



3.          I certify under penalty of perjury that the above documents were sent using the mode of service
            indicated.

Date:       09/29/2021
            _______________________                                    /s/Michelle Torres
                                                                       __________________________________
                                                                       Signature
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Name and Address of Party Served                   Relationship of                 Mode of Service
                                                  Party to the Case
Choates G. Contacting, LLC                     Debtor
401 Cooper Landing Rd., Suite C-4                                     ☐ Hand-delivered
Cherry Hill, NJ 08002
                                                                      ☐ Regular mail
                                                                      ☐ Certified mail/RR
                                                                      ☐ Other _____________________
                                                                         (As authorized by the Court or by rule. Cite
                                                                      the rule if applicable.)
Daniel L Reinganum                             Debtor's Counsel
McDowell Law, PC                                                      ☐ Hand-delivered
46 West Main Street
Maple Shade, NJ 08052                                                 ☐ Regular mail

McDowell Law, PC
                                                                      ☐ Certified mail/RR
46 West Main Street
                                                                      ☐ Other _____________________
                                                                              CM/ECF
Maple Shade, NJ 08052
                                                                         (As authorized by the Court or by rule. Cite
                                                                      the rule if applicable.)
Bradley K. Sclar                               Debtor's Counsel
Five Greentree Center, Suite 104                                      ☐ Hand-delivered
525 Route, 73 North
Marlton, NJ 08053                                                     ☐ Regular mail
                                                                      ☐ Certified mail/RR
                                                                      ☐ Other _____________________
                                                                              CM/ECF
                                                                         (As authorized by the Court or by rule. Cite
                                                                      the rule if applicable.)

Trustee                                        Trustee
Douglas S. Stranger
                                                                      ☐ Hand-delivered
Flaster/Greenberg
                                                                      ☐ Regular mail
646 Ocean Heights Avenue
Linwood, NJ 08221                                                     ☐ Certified mail/RR
                                                                      ☐ Other _____________________
                                                                              CM/ECF
                                                                         (As authorized by the Court or by rule. Cite
                                                                      the rule if applicable.)

U.S. Trustee                                   U.S. Trustee
US Dept of Justice
                                                                      ☐ Hand-delivered
Office of the US Trustee
                                                                      ☐ Regular mail
One Newark Center Ste 2100
Newark, NJ 07102                                                      ☐ Certified mail/RR
                                                                      ☐ Other _____________________
                                                                              CM/ECF
                                                                         (As authorized by the Court or by rule. Cite
                                                                      the rule if applicable.)




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Name and Address of Party Served         Relationship of                 Mode of Service
                                        Party to the Case
Jeffrey M. Sponder                  U.S. Trustee
Office of U.S. Trustee
                                                            ☐ Hand-delivered
One Newark Center
                                                            ☐ Regular mail
Newark, NJ 07102
                                                            ☐ Certified mail/RR
                                                            ☐ Other _____________________
                                                                    CM/ECF
                                                               (As authorized by the Court or by rule. Cite
                                                            the rule if applicable.)

                                                            ☐ Hand-delivered
                                                            ☐ Regular mail
                                                            ☐ Certified mail/RR
                                                            ☐ Other _____________________
                                                               (As authorized by the Court or by rule. Cite
                                                            the rule if applicable.)

                                                            ☐ Hand-delivered
                                                            ☐ Regular mail
                                                            ☐ Certified mail/RR
                                                            ☐ Other _____________________
                                                                  (As authorized by the Court or by rule.
                                                               Cite the rule if applicable.)

                                                            ☐ Hand-delivered
                                                            ☐ Regular mail
                                                            ☐ Certified mail/RR
                                                            ☐ Other _____________________
                                                               (As authorized by the Court or by rule. Cite
                                                            the rule if applicable.)

                                                            ☐ Hand-delivered
                                                            ☐ Regular mail
                                                            ☐ Certified mail/RR
                                                            ☐ Other _____________________
                                                               (As authorized by the Court or by rule. Cite
                                                            the rule if applicable.)




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